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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA,

                 Plaintiff,

        v.                                           Civil No. 1:22-cv-02791-ACR

 ASSA ABLOY AB, et al.,

                 Defendants.



                   ASSET PRESERVATION STIPULATION AND ORDER

       It is hereby stipulated by and among the undersigned parties, subject to approval and

entry of this Order by the Court, as follows.

I.     DEFINITIONS

        All definitions from the proposed Final Judgment filed with this Asset Preservation

Stipulation and Order (“Stipulation and Order”), or any amended proposed Final Judgment

agreed upon in writing by the United States and Defendants, apply to this Stipulation and Order.

       Additionally, the term “Divestiture Agreements” means:

       1. Stock Purchase Agreement, dated as of December 1, 2022 among ASSA ABLOY

             Inc., Fortune Brands Innovations, Inc. (f/k/a/ Fortune Brands Home & Security, Inc.)

             (“Fortune”) and solely for purposes of Section 13.20 thereof, ASSA ABLOY AB;

       2. Closing Implementation Letter, dated as of April 13, 2023 among ASSA ABLOY

             AB, ASSA ABLOY Inc., and Fortune;




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       3. Software License Agreement to be entered into as of the Divestiture Date between

           August Home, Inc. and ASSA ABLOY Inc.;

       4. Patent License Agreement to be entered into as of the Divestiture Date between each

           of August Home, Inc. and ASSA ABLOY Residential Group, Inc., on the one hand,

           and ASSA ABLOY Inc. or their designated Affiliates, on the other hand;

       5. Patent License Back Agreement to be entered into as of the Divestiture Date between

           each of August Home, Inc. and ASSA ABLOY Residential Group, Inc., on the one

           hand, and ASSA ABLOY Inc. or their designated Affiliates, on the other hand;

       6. Intellectual Property Assignment Agreement to be entered into as of the Divestiture

           Date between Fortune or its Affiliates, on the one hand, and ASSA ABLOY Inc. or its

           designated Affiliates, on the other hand;

       7. Transition Services Agreement to be entered into as of the Divestiture Date between

           Fortune and ASSA ABLOY Inc. (or any Affiliates thereof); and

       8. Supply Agreement to be entered into as of the Divestiture Date between Fortune and

           ASSA ABLOY Inc., or their designated Affiliates.

The Divestiture Agreements, as redacted for commercial sensitivity, are contained in Attachment

A. Attachment B is the Product Development Roadmap, a determinative document within the

meaning of 15 U.S.C. § 16(b).

II.    OBJECTIVES

       The proposed Final Judgment filed in this case is meant to ensure ASSA ABLOY’s

prompt divestiture of the Divestiture Assets used for the manufacture and sale of residential

premium mechanical door hardware and smart locks for residential and multi-family uses after


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the acquisition of Spectrum Brand’s Holdings, Inc.’s (“Spectrum”) Hardware and Home

Improvement division by ASSA ABLOY AB (“ASSA ABLOY”) (the “Transaction”). This

Stipulation and Order ensures that, prior to divestiture, ASSA ABLOY will preserve and

maintain the Divestiture Assets.

III.   JOINDER, JURISDICTION, VENUE

       It is hereby stipulated and agreed by and among the United States, ASSA ABLOY,

Spectrum, and Fortune that, upon approval and entry by the Court of this Stipulation and Order,

Fortune agrees to abide by the terms of the proposed Final Judgment in this action for purposes

of settlement and for entry of the proposed Final Judgment filed with this Stipulation and Order.

       The Court has jurisdiction over the subject matter of this action and over the parties to it.

The Complaint states a claim upon which relief may be granted against Defendants ASSA

ABLOY and Spectrum under Section 7 of the Clayton Act, as amended, 15 U.S.C. § 18.

Pursuant to this Stipulation and Order filed simultaneously with the proposed Final Judgment,

Fortune has consented to this Court’s exercise of personal jurisdiction over it. Venue for this

action is proper in the United States District Court for the District of Columbia.

IV.    CONSUMMATION OF THE TRANSACTION AND DIVESTITURES

       Defendants will not consummate the Transaction before the Court has signed this

Stipulation and Order. The closings for the Transaction and the divestiture of the Premium

Mechanical Divestiture Assets and Smart Lock Divestiture Assets will be completed

substantially simultaneously and no earlier than May 15, 2023.




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V.       COMPLIANCE WITH AND ENTRY OF FINAL JUDGMENT

         A.    The proposed Final Judgment filed with this Stipulation and Order, or any

amended proposed Final Judgment agreed upon in writing by the United States and Defendants,

may be filed with and entered by the Court as the Final Judgment, upon the motion of the United

States or upon the Court’s own motion, after compliance with the requirements of the Antitrust

Procedures and Penalties Act (“APPA”), 15 U.S.C. § 16, and without further notice to any party

or any other proceeding, as long as the United States has not withdrawn its consent. The United

States may withdraw its consent at any time before the entry of the Final Judgment by serving

notice on Defendants and by filing that notice with the Court.

         B.    From the date of the signing of this Stipulation and Order by Defendants until the

Final Judgment is entered by the Court, or until expiration of time for all appeals of any ruling

declining entry of the proposed Final Judgment, Defendants will comply with all of the terms

and provisions of the proposed Final Judgment.

         C.    From the date on which the Court enters this Stipulation and Order, the United

States will have the full rights and enforcement powers set forth in the proposed Final Judgment

as if the proposed Final Judgment were in full force and effect as a final order of the Court, and

Section XVI of the proposed Final Judgment will also apply to violations of this Stipulation and

Order.

         D.    Defendants agree to arrange, at their expense, publication of the newspaper notice

required by the APPA, which will be drafted by the United States in its sole discretion. The

publication must be arranged as quickly as possible and, in any event, no later than three

business days after Defendants’ receipt of (1) the text of the notice from the United States and


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(2) the identity of the newspaper or newspapers within which the publication must be made.

Defendants must promptly send to the United States (1) confirmation that publication of the

newspaper notices have been arranged and (2) the certification of the publication prepared by the

newspaper or newspapers within which the notice was published.

       E.      This Stipulation and Order applies with equal force and effect to any amended

proposed Final Judgment agreed upon in writing by the United States and Defendants and filed

with the Court.

       F.      Subject to the terms of this Asset Preservation Stipulation and Order, ASSA

ABLOY represents that the divestitures ordered by the proposed Final Judgment can and will be

made and that Defendants will not later raise a claim of mistake, hardship, or difficulty of

compliance as grounds for asking the Court to modify any provision of the proposed Final

Judgment or this Stipulation and Order.

VI.    APPLICATION OF THE FINAL JUDGMENT

       A.      Defendants and Fortune stipulate that the rights and obligations set forth in the

Divestiture Agreements constitute Fortune’s irrevocable exercise of any options granted to

Fortune under the proposed Final Judgment. Defendants and Fortune further stipulate that those

Divestiture Agreements and Sections I-IV, V.K, V.M, VI.K, VI.M, VI.N, VI.P, VI.Q, and

VII-VIII of the proposed Final Judgment together constitute in full each of ASSA ABLOY’s and

Fortune’s respective rights and obligations with respect to the proposed Final Judgment.

       B.      The United States (i) consents pursuant to Paragraphs V.D and VI.D of the

proposed Final Judgment that, if Fortune is the Acquirer, the Divestiture Agreements fulfill

ASSA ABLOY’s obligations to divest the assets described in paragraphs II.K, II.Q(2), V.B,


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VI.B, VI.P, VI.Q, and VI.R of the proposed Final Judgment; (ii) consents that, if Fortune is the

Acquirer, materials previously provided to Fortune and Fortune’s rights under the Divestiture

Agreements satisfy the requirements of V.F, V.G, V.H, V.I, V.J, V.L VI.F, VI.G, VI.H, VI.I,

VI.J, and VI.L of the proposed Final Judgment, and (iii) if Fortune is the Acquirer, approves the

initial conditions for and terms of any supply contracts and transition services agreements

contained in the Divestiture Agreements pursuant to Paragraphs V.J, V.L, VI.J, and VI.L of the

proposed Final Judgment. For the avoidance of doubt, the United States’ consent does not waive

any rights or authority the United States or the court-appointed monitor trustee retain under any

provision of the proposed Final Judgment with respect to Section IV, compliance with the terms

of the proposed Final Judgment, this Stipulation, or divestiture agreements, or consenting or

withholding consent for any subsequent modifications as contemplated by the proposed Final

Judgment.

       C.      Defendants stipulate that the proposed Final Judgment will only be deemed to

satisfy the condition contained in Section 10.01(a)(i) of the Asset and Stock Purchase Agreement

dated as of September 8, 2021 between Spectrum Brands, Inc. and ASSA ABLOY AB, as

amended, if Fortune is the Acquirer.

       D.      Paragraphs VI.A and VI.B of this Stipulation and Order do not apply to an

Acquirer other than Fortune.

VII.   ASSET PRESERVATION

       From the date of the signing of this Stipulation and Order by Defendants and until the

divestitures required by the proposed Final Judgment have been accomplished:

       A.      ASSA ABLOY must take all actions necessary to operate, preserve, and maintain


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the full economic viability, marketability, and competitiveness of the Divestiture Assets

including by (1) operating the Divestiture Assets in the ordinary course of business and

consistent with past practices and (2) providing sufficient working capital and lines and sources

of credit.

        B.     ASSA ABLOY must use all reasonable efforts to maintain and increase the sales

and revenues of the products provided by the Divestiture Assets and must maintain at 2022 or

previously approved levels for 2023, whichever are higher, all promotional, advertising, sales,

technical assistance, customer support and service, marketing, research and development, and

merchandising support for the Divestiture Assets.

        C.     ASSA ABLOY must use all reasonable efforts to maintain and preserve existing

relationships with customers, suppliers, governmental authorities, vendors, landlords, creditors,

agents, and all others having business relationships relating to the Divestiture Assets.

        D.     ASSA ABLOY must maintain, in accordance with sound accounting principles,

accurate and complete financial ledgers, books, or other records that report on a periodic basis,

such as the last business day of every month, consistent with past practices, the assets, liabilities,

expenses, revenues, and income of the Divestiture Assets.

        E.     ASSA ABLOY must maintain the working conditions, staffing levels, and work

force training and expertise of all Premium Mechanical Divestiture Relevant Personnel and

Smart Lock Divestiture Relevant Personnel. Premium Mechanical Divestiture Relevant

Personnel and Smart Lock Divestiture Relevant Personnel must not be transferred or reassigned

except to Acquirer or via transfer bids initiated by employees pursuant to ASSA ABLOY’s

regular, established job posting policy. ASSA ABLOY must provide the United States with 10


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calendar days’ notice of the transfer of Premium Mechanical Divestiture Relevant Personnel and

Smart Lock Divestiture Relevant Personnel, and, upon objection by the United States to such

transfer, Premium Mechanical Divestiture Relevant Personnel and Smart Lock Divestiture

Relevant Personnel may not be transferred or reassigned. ASSA ABLOY must use all reasonable

efforts, including by providing financial incentives, to encourage Premium Mechanical

Divestiture Relevant Personnel and Smart Lock Divestiture Relevant Personnel to continue in the

positions held as of the date of the signing of this Stipulation and Order by ASSA ABLOY, and

financial incentives may not be structured so as to disincentivize employees from accepting

employment with Acquirer.

       F.      ASSA ABLOY must maintain all licenses, permits, approvals, authorizations, and

certifications related to or necessary for the operation of the Divestiture Assets and must operate

the Divestiture Assets in compliance with all regulatory obligations and requirements.

       G.      ASSA ABLOY must take all steps necessary to ensure that the Divestiture Assets

are fully maintained in operable condition at no less than their current capacity and level of sales,

with the same level of quality, functionality, access, and customer support, and must, consistent

with past practices, maintain and adhere to normal repair and maintenance schedules for the

Divestiture Assets.

       H.      Except as approved by the United States in accordance with the terms of the

proposed Final Judgment, ASSA ABLOY must not remove, sell, lease, assign, transfer, pledge,

encumber, or otherwise dispose of any of the Divestiture Assets.

       I.      Defendants must take no action that would jeopardize, delay, or impede the sale

of the Divestiture Assets.


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       J.      Within 20 calendar days after the entry of this Stipulation and Order, ASSA

ABLOY will inform the United States of the steps Defendants have taken to comply with this

Stipulation and Order.

VIII. DURATION OF OBLIGATIONS

       ASSA ABLOY’s obligations under Section VII of this Stipulation and Order will expire

upon the completion of the divestitures required by the proposed Final Judgment or unless

otherwise ordered by the Court. In the event that (1) the United States has withdrawn its consent,

as provided in Paragraph V.A of this Stipulation and Order; (2) the United States voluntarily

dismisses the Complaint in this matter; or (3) the Court declines to enter the proposed Final

Judgment, the time has expired for all appeals of any ruling declining entry of the proposed Final

Judgment, and the Court has not otherwise ordered continued compliance with the terms and

provisions of the proposed Final Judgment, Defendants are released from all further obligations

under this Stipulation and Order, and the making of this Stipulation and Order will be without

prejudice to any party in this or any other proceeding.

Dated: May 5, 2023



Respectfully submitted,

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                                      ORDER

IT IS SO ORDERED by the Court, this ______ day of ____________________, _________.



                                                                         __________
                                              United States District Judge




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